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 Attorneys for Plaintiff

 [Additional Counsel Appear on Signature Page]

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                          :
 JESSICA FERGUS, Individually and On      : Civil Action No.: 2:16-cv-03335(KSH)(CLW)
 Behalf of All Others Similarly Situated, :
                                          :
                       Plaintiff,         :
                                          : NOTICE OF UNOPPOSED MOTION FOR
                v.                        :   ENTRY OF ORDER PRELIMINARILY
                                          :       APPROVING SETTLEMENT AND
 IMMUNOMEDICS, INC., CYNTHIA L. : ESTABLISHING NOTICE PROCEDURES
 SULLIVAN, PETER P. PFREUNDSCHUH :
 and DAVID GOLDENBERG,                    :
                                          :
                       Defendants.        :

        PLEASE TAKE NOTICE that Lead Plaintiff Sensung Tsai (“Lead Plaintiff”), individually

 and on behalf of all others similarly situated, will and hereby does move the Honorable Katharine

 S. Hayden, United States District Judge, located at the District of New Jersey, Martin Luther King

 Building & U.S. Courthouse, 50 Walnut Street, Newark, NJ 07101, on May 16, 2022 at 10:00 a.m.

 or as soon thereafter as counsel may be heard, or telephonically or by videoconference, for entry

 of an Order: (i) granting preliminary approval of the proposed Settlement; (ii) preliminarily

 certifying, for settlement purposes only, the proposed Settlement Class; (iii) approving the Settling

 Parties’ proposed form and method of giving notice to the proposed Settlement Class; and

 (iv) setting a date for a Settlement Hearing and deadlines for mailing and publication of the Notice,



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 the filing of Settlement Class Member objections, the filing of Settlement Class Member opt-out

 notices, the filing of Lead Plaintiff’s motion for Final Approval of the Settlement, and the filing

 of Lead Plaintiff’s Counsel’s application for attorneys’ fees and expenses.

        This motion is based on this Notice of Unopposed Motion, the Stipulation and Agreement

 of Settlement, and all exhibits attached thereto, Lead Plaintiff’s supporting Memorandum of Law,

 Declaration of Reed R. Kathrein, Esq. with exhibits all filed contemporaneously herewith, and all

 pleadings, records, and papers on file herein.

        Settling Defendants do not oppose the relief requested by this motion.

                                    LITE DEPALMA GREENBERG & AFANADOR, LLC

  Dated: April 14, 2022               /s/ Bruce D. Greenberg
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                                    bgreenberg@litedepalma.com

                                    Liaison Counsel for the Class

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                                    Lead Counsel for the Class



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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 14, 2022, a true and correct copy of the foregoing NOTICE

 OF UNOPPOSED MOTION FOR ENTRY OF ORDER PRELIMINARILY APPROVING

 SETTLEMENT AND ESTABLISHING NOTICE PROCEDURES; DECLARATION OF

 REED R. KATHREIN IN SUPPORT OF UNOPPOSED MOTION FOR ENTRY OF

 ORDER PRELIMINARILY APPROVING SETTLEMENT AND ESTABLISHING

 NOTICE PROCEDURES; and MEMORANDUM OF LAW IN SUPPORT OF

 UNOPPOSED MOTION FOR ENTRY OF ORDER PRELIMINARILY APPROVING

 SETTLEMENT AND ESTABLISHING NOTICE PROCEDURES with the Clerk of the Court

 using the CM/ECF system, which sent notification of such filing to counsel of record.



 Dated: April 14, 2022

                                             /s/ Bruce D. Greenberg
                                             Bruce D. Greenberg




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